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 Matthew D. Hardin (pro hac vice)
 HARDIN LAW OFFICE
 101 Rainbow Drive # 11506
 Livingston, TX 77399
 Telephone: (202) 802-1948
 Email: MatthewDHardin@gmail.com
 Attorney for Defendants

                          THE UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

  RUSSELL GREER,                                       SHORT FORM DISCOVERY
                                                       MOTION
         Plaintiff,
  v.                                                   Case No. 2:24-cv-00421-DBB


  JOSHUA MOON, et al.                                  District Judge David Barlow
                                                       Magistrate Judge Jared C. Bennett
         Defendants.

       NOW COME the Defendants and move for an order compelling Plaintiff to comply

 with the discovery request which is attached as Exhibit A. In support of this Motion,

 Defendants state as follows:

       1.       On January 16, 2025, Defendants sent Plaintiff the Request for Production

 of Documents which is attached hereto as Exhibit A. This request was inspired Plaintiff’s

 repeated confessions that he had either lost relevant documents or had intentionally

 deleted documents to clear space in his electronic folders.

       2.       On January 17, 2025, Plaintiff confirmed that he had received the email sent

 the previous day, and stated that he would respond in the future. Exhibit B.

       3.       But Plaintiff never did respond. Plaintiff went radio silent.

       4.       On February 18, 2025, Defendants sent Plaintiff a request to meet and

 confer pursuant to DUCivR 37-1. Exhibit C. Plaintiff at first accepted that request to meet

 and confer at noon on February 19, 2025. Exhibit D.
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        5.     But on the morning of February 19, 2025, Plaintiff sent undersigned counsel

 two emails, one of which bore the header “FOR ATTORNEYS EYES ONLY: DO NOT

 PUBLISH” and the other of which replied to that same email with that same header. These

 emails did not transmit discovery material, but instead express Plaintiff’s demands and

 conditions relating to his participation in a meet and conferral, his generalized complaints

 about this litigation (and about undersigned counsel), and Plaintiff’s belief that a “person

 affiliated with moon” [sic] had managed to obtain documents that Plaintiff still has not

 produced in discovery. Plaintiff’s emails appear facially to be entirely outside the scope

 of this Court’s Standard Protective Order, and to have been designated as “Attorneys

 Eyes Only” in order to frustrate Defendants’ ability to file an effective and timely motion to

 compel and to provide unreviewable demands relating to his participation in a conference.

        6.     Under the circumstances, Defendants respectfully submit that Plaintiff has

 returned to his well-worn pattern of refusing to meaningfully meet and confer with

 Defendants relating to discovery disputes. See, e.g., ECF No. 196-5 (declaration attesting

 to attempts to meet and confer with Plaintiff) and ECF No. 228-2 at 3-4 (declaration

 attesting to costs such failed meet and conferrals have imposed on Defendants and their

 counsel). As Defendants have explained, Plaintiff requires undersigned counsel to

 repeatedly clear his schedule for a meet and confer, but then refuses to participate in

 such conferral. Plaintiff has now coupled this pattern with the blatantly improper

 designation of his own correspondence as “Attorneys Eyes Only” so that Defendants

 cannot file proof of Plaintiff’s antics with the Court without first filing a motion to de-

 designate Plaintiff’s emails pursuant to the Standard Protective Order, and without still

 further delay. And Plaintiff has expressly admitted, in an “attorneys eyes only” email, that
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 third parties have been able to obtain information which Plaintiff himself has consistently

 failed or refused to provide.

        WHEREFORE, Defendants move that this Court compel Plaintiff to respond to the

 attached Request for Production of Documents, or enter other appropriate relief.

             DATED February 19, 2025

                                          HARDIN LAW OFFICE

                                          /s/ Matthew D. Hardin
                                          Matthew D. Hardin
                                          Attorney for Defendants
